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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          CASE NO. 2:17-CR-0082-KJM-2
12                                Plaintiff,            ORDER DIRECTING THE WARDEN,
                                                        METROPOLITAN DETENTION CENTER, TO
13                          v.                          PRODUCE DOCUMENTS
14   JOHN ANTHONY AYON,
15                               Defendant.
16

17                                                  ORDER
18          On January 16, 2019, the Court ordered that defendant John Anthony Ayon be committed to the
19 custody of the Federal Bureau of Prisons for a psychiatric and/or psychological examination, pursuant to

20 18 U.S.C. § 4241. (Dkt. No. 37.) Later that month, Mr. Ayon was designated to, and then transported to,

21 the Metropolitan Detention Center (MDC) in Los Angeles, California, for the examination. (Dkt. No.

22 38.)

23          In April 2019, Dr. Samantha Shelton, a Forensic Psychologist at the MDC, completed a forensic
24 evaluation of Mr. Ayon and prepared a report summarizing her findings. In support of her findings, Dr.

25 Shelton relied on “352 pages of email communication between the defendant and individuals in the

26 community,” among other items. When the report was complete, medical staff at the MDC transmitted

27 the forensic evaluation to the Court and the parties for review.

28 / / /

      (PROPOSED) ORDER DIRECTING THE METROPOLITAN       1
      DETENTION CENTER TO PRODUCE DOCUMENTS
              Case 2:17-cr-00082-KJM Document 69 Filed 08/08/19 Page 2 of 2


 1          On July 29, 2019, the parties appeared for a non-evidentiary hearing on Mr. Ayon’s motion for a

 2 finding re: competency to stand trial and/or assist in his defense. (Dkt. No. 67.) At the hearing, counsel

 3 for the government and defense agreed that a further review of the email communications referenced in

 4 Dr. Shelton’s report could assist the Court in ruling on the motion. (Id.)

 5          Having considered the matter, the Court finds that a further review of the email communications

 6 referenced in Dr. Shelton’s report could benefit the Court in ruling on the defense motion. Accordingly,

 7 the Warden, Metropolitan Detention Center, Los Angeles, is directed to produce copies of the 352 pages

 8 of email communications Dr. Shelton referenced in her forensic evaluation. The Warden shall produce

 9 copies of all responsive documents to the Court not later than 21 days from the entry of this Order.

10          SO ORDERED.

11 DATED: August 7, 2019.

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                                                            UNITED STATES DISTRICT JUDGE
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      (PROPOSED) ORDER DIRECTING THE METROPOLITAN       2
      DETENTION CENTER TO PRODUCE DOCUMENTS
